Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 1 of 15




                        EXHIBIT “A”
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 2 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 3 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 4 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 5 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 6 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 7 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 8 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 9 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 10 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 11 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 12 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 13 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 14 of 15
Case 24-02056-GLT   Doc 1-1 Filed 08/29/24 Entered 08/29/24 19:02:10   Desc
                          Exhibit A Page 15 of 15
